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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            January 11, 2021
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                                                             :
 ELLIOT DABAH,
                                                             :
                                     Plaintiff,              :
                                                             :     19-CV-10579 (ALC)
                        -against-                            :
                                                             :     ORDER
 NICOLE FRANKLIN ET AL,                                      :
                                                             :
                                     Defendants.             :
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ANDREW L. CARTER, JR., United States District Judge:

        In light of Plaintiff’s amended complaint, the Court denies Defendants’ motion to dismiss

without prejudice. (ECF No. 41). On November 24, 2020, Defendants filed a request for a pre-

motion conference in anticipation of their motion to dismiss the amended complaint. (ECF No.

45). Plaintiff responded to Defendants’ request on November 27, 2020. (ECF No. 47). The Court

denies Defendants’ request for a pre-motion conference and sets the following briefing schedule.

Defendants shall file their motion by February 1, 2021; Plaintiff shall oppose the motion by

February 22, 2021; and Defendants shall reply by March 1, 2021.


SO ORDERED.

Dated: January 11, 2021                                      ___________________________________
       New York, New York                                         ANDREW L. CARTER, JR.
                                                                  United States District Judge
